Case 2:96-cV-02520-.]PI\/| Document 840 Filed 06/30/05 Page 1 of 3 Page|D 1625

IN THE UNITED STATES DISTRICT coURT H|-Eb ay
FOR THE wESTERN DISTRICT oF TENNESSEE ”"' Qc.
wESTERN DIVISION 05JU~30 FH

 

DARIUS D . LI'I'TLE ,
Plaintiff,
v.

NO. 96-2520 Ml/P

SHELBY COUNTY , TENNESSEE ,
et al.,

)
)
)
)
)
)
)
)
)
Defendants. )
)

 

ORDER DIRECTING CLERK TO DISBURSE FUNDS

 

The Assistant to the Special Master in this case, Wanda J.
Kilgore-Schneider, has submitted an invoices for fees and
expenses incurred in connection with this matter for the months
of January, February, and March of 2004, in the amounts of
$6,978.35; $6,914.84; and $6,878.54. Accordingly, the Clerk of
Court is directed to send the total amount of $20,771.73 to the
Assistant Special Master, Wanda J. Kilgore-Schneider at, 65

Sunhaven Drive, Jackson, Tennessee, 38305.
IT IS SO ORDERED THISL;§E)DAY OF June, 2005.

kw M`

JON . MCCALLA
UNI D STATES DISTRICT JUDGE

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2 58 and/or 79(a) FHCP 0|1 b

 

   

UNIED sTATEsDIsTRIC COURT - WESERTN DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 840 in
case 2:96-CV-02520 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

